Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 1 of 76
E-FILED IN OFFICE - EP

CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA

21-C-07149-S4

9/30/2021 12:48 PM
TIANA P. GARNER, CLERK

IN THE STATE COURT OF GWINNETT COUNTY
STATE OF GEORGIA

KASZIA HOOD, CIVIL ACTION NO.:
Plaintiff, 21-C-07149-S4

Vv.

TRAVEON DEONTE TAYLOR,

KNIGHT TRANSPORTATION, INC.,
TRANSTAR INSURANCE BROKERS, INC., and

)
)
)
|
) | JURY TRIAL DEMANDED
)
)
\ JOHN DOE CORPORATIONS 1-3 )
)
)

Defendants.

COMPLAINT FOR DAMAGES
COMES NOW Plaintiff, KASZIA HOOD by and through the undersigned counsel of
record, in the above-styled action, files this her COMPLAINT FOR DAMAGES against
Defendants, TRAVEON DEONTE TAYLOR (hereinafter “Defendant Traveon”), KNIGHT
TRANSPORTATION, INC. (hereinafter “Defendant Knight”) and TRANSTAR INSURANCE
BROKERS, INC. (hereinafter “Defendant Transtar”), and shows this Court the following:
PARTIES, JURISDICTION AND VENUE
1,
Plaintiff is a resident of Georgia and is, therefore, subject to the jurisdiction of this Court.
2.
Defendant Traveon is the driver of the tractor trailer involved in the subject collision and
is a resident of the State of Michigan, whose last known address is 3390 Saxton Drive, Saginaw,

Saginaw County, Michigan 48603. Defendant may be served at that address.

Page 1 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 2 of 76

3.

Defendant Knight is a foreign profit corporation authorized to do business in the State of
Georgia with its principal place of business located at 20002 North 19 Avenue, Phoenix, AZ
85027. Defendant Knight is subject to the jurisdiction of this Court and may be served by issuing
Summons and a second original of this Complaint to their registered agent C T Corporation
System, at the principal place of business located at 289 S. Culver Street, Lawrenceville, Gwinnett
County, Georgia 30046.

4.

Defendant Transtar is a foreign profit corporation authorized to do business in the State of
Georgia with its principal place of business located at 5450 East High Street, Suite 230, Phoenix,
Arizona 85054. Defendant Transtar is subject to the jurisdiction of this Court and may be served
by issuing Summons and a second original of this Complaint to their registered agent Corporation
Service Company at the principal place of business located at 2 Sun Court, Suite 400, Peachtree
Corners, Gwinnett County, Georgia 30092.

5.

The true names or capacities of the Defendants named herein as John Doe Corporations 1-
3 are unknown to the Plaintiff. Therefore, Plaintiff sues these Defendants by their fictitious names.
Plaintiff will amend the Complaint to show the true names of these Defendants when their names
have been ascertained.

5.
Defendants Traveon, Knight, Transtar, and John Doe Corporations 1-3 are joint tortfeasors

and as such, venue as to all Defendants is proper in Gwinnett County, Georgia.

Page 2 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 3 of 76

6.
Jurisdiction and venue are proper in this Court pursuant to O.C.G.A. § 9-10-91 and
0.C.G.A. § 9-10-93.
7.
Removal of this case to federal court is not appropriate. See, e.g., Hambrick v. Wal-Mart
Stores East, (2014) WL 1921341; Poll v. Deli Mmet. Inc., No. 1:07-CV-0959-RWS, 2007 U.S.
Dist. LEXIS 62564 (N.D. Ga. Aug. 24, 2007); Stalvey v. Wal-Mart Stores East, No. 510-CV-
00206, 2010 WL4332439 (M.D. Ga. June 22, 2012); Ott v. Wal-Mart Stores, No. 5:09-CV-00215,
2010 U.S. Dist. LEXIS 13072 (M.D. Ga. Feb. 16, 2010); Stephens v. Wal-Mart Stores East, No.
5:09-cv-325, 2010 U.S. Dist. LEXIS 35506 (M.D. Ga. Apr. 12, 2012); Mobley v. Wal-Mart Stores
Inc., No. 2:09-cv-3019, 2010 U.S. Dist. LEXIS 10783 (D.S.C. Feb 8, 2010); Mack v. Wal-Mart
Stores Inc., No. 1:07-cv-3105-RBH, 2007 U.S. Dist. LEXIS 79646 (D.S.C. Oct. 26, 2007).
Inappropriate removals to federal court are subject to an award of fees. 28 U.S.C. §1447(c). An
award of fees is appropriate when the removing party lacks an objectively reasonable basis for
seeking removal. In this situation, an award of fees does not require a showing of bad faith. Poll,
2007 U.S. Dist. LEXIS 62564 (N.D. Ga. Aug. 24, 2007).
FACTS
8.
Plaintiff hereby repeats and incorporates Paragraphs 1 through 7 of this Complaint, as if

fully restated hereinafter.

Page 3 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 4 of 76

9.

On or about November 19, 2019, Plaintiff KASZIA HOOD was traveling northbound on
the Interstate 285 Expressway ramp at or near its intersection with Martin Luther King Jr. Drive
in Fulton County, Georgia.

10.

On or about the same date, Defendant Traveon was traveling westbound on Martin Luther
King Jr. Drive at or near its intersection with the Interstate 285 Expressway ramp in Fulton County,
Georgia.

11.

Plaintiff K ASZIA HOOD was traveling northbound on the Interstate 285 Expressway ramp
at or near its intersection with Martin Luther King Jr. Drive in Fulton County, Georgia when
Defendant Traveon negligently, recklessly, carelessly and unlawfully operated said truck so as to
collide with Plaintiff's vehicle.

12.

Defendant Traveon was found to be at fault.

13.
The negligent operation of the tractor trailer Defendant Traveon was driving was the sole
and proximate cause of the collision, which is the subject of this action.
14.
As a result of the subject collision, Plaintiff suffered bodily injuries.
15,

As a result of the injuries sustained, Plaintiff had to seek medical treatment.

Page 4 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 5 of 76

16.
At all times relevant, Plaintiff exercised due care for her own safety.
COUNT I - NEGLIGENCE
17.
Plaintiff repeats and incorporates Paragraphs 1 through 16, as if fully restated hereinafter.
18.
Defendant Traveon owed a duty of care to the motoring public in general and to Plaintiff

in particular, to operate his vehicle in a reasonable and prudent manner and to adhere to the

Georgia Uniform Rules of the Road.
19.

Defendant Traveon owed a duty to exercise ordinary care with regard to other drivers on
the highway. Specifically, Defendant Traveon was under a duty to keep a proper lookout for

potential hazards and maintain a diligent lookout.

20.
Defendant Traveon breached his duty of care by failing to obey traffic control devices.

21.

There was absolutely no negligence on the part of Plaintiff.
COUNT II- NEGLIGENCE PER SE
22.

Plaintiff hereby re-alleges and incorporates Paragraphs 1 through 21 of this Complaint, as

if fully restated hereinafter.

Page 5 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 6 of 76

23.

Defendant Traveon was negligent in the following particulars, all of which contributed to

the injuries sustained by Plaintiff:

(a)

(b)
(c)

(d)

(e)

(f)

(g)

In failing to make reasonable and proper observations while driving Defendant’s
vehicle or, if reasonable and proper observations was made, failing to act thereon;

In failing to obey traffic control devices in violation of O.C.G.A. § 40-6-20;

In failing to make timely and proper application of Defendant’s brakes, in violation
of 0.C.G.A. § 40-6-241;

In failing to observe or undertake the necessary precautions to keep Defendant’s
vehicle from colliding with the Plaintiff's vehicle, in violation of O.C.G.A § 40-6-
390;

In driving Defendant’s vehicle without due caution and circumspection and in a
manner so as to endanger the person and/or property of others in the immediate
vicinity, in violation of O.C.G.A. § 40-6-241;

In driving Defendant’s vehicle in reckless disregard for the safety of persons and/or
property, in violation of O.C.G.A. § 40-6-390; and

In committing other negligent and reckless acts and omissions as may be shown by
the evidence and proven at trial.

24,

Defendant’s negligent acts are a violation of Georgia Uniform Rules of the Road and

therefore constitute negligence as a matter of law or negligence per se.

Copy from re:SearchGA

Page 6 of 14
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 7 of 76

COUNT II —- IMPUTABLE NEGLIGENCE
25.
Plaintiff re-alleges and incorporates Paragraphs | through 24 of this Complaint, as if fully

restated hereinafter.

26.

At the time of the collision, Defendant Traveon was an employee and agent of Defendant
Knight and Defendant was driving a tractor trailer withing the course and scope of his employment
with Defendant Knight.

27.

Defendant Knight is liable for the acts and omissions of Defendant Traveon as Defendant

Knight agent and employee at the time of the collision-in-suit, under the theory of respondeat

superior.
28.

Defendant Knight owed a legal duty to check driver information of Defendant Traveon,
which would have been revealed by a proper driver qualification.
29.

Defendant Knight was negligent in hirmg Defendant Traveon and entrusting him to drive

its commercial motor vehicle.

30.
Defendant Knight owed a duty to exercise ordinary care in the selection of its employees

and not retain them after knowledge of any incompetence, pursuant to O.C.G.A. § 34-7-20.

Page 7 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 8 of 76

31.
Defendant Knight knew or should have known of Defendant Traveon’s propensity to
engage in the conduct which caused Plaintiff injuries.
32.
Defendant Knight owed a duty to exercise ordinary care not to hire or retain an employee
it knows or should have known poses a risk of harm to others.
33.
It was reasonably foreseeable that Defendant Traveon’s tendencies or propensities could
cause the type of harm sustained by Plaintiff.
34.
Defendant Knight knew of should have known Defendant Traveon could cause the type of
harm sustained by Plaintiff.
35.
Defendant Knight owed a legal duty to check a driver’s record for any serious violations.
36.
Defendant Knight was negligent in failing to properly evaluate the driving capabilities of
Defendant Traveon before he was hired.
37.
Defendant Knight was negligent in failing to conduct an extensive review of the driver’s
record of Defendant Traveon before he was hired.
38.
Defendant Knight was negligent in failing to properly train and supervise Defendant

Traveon.

Page 8 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 9 of 76

39.
Defendant Knight was negligent in failing to enforce company policies, procedures, and

rules for the protection of the public, including Plaintiff.
40.

Defendant Knight was negligent in failing to monitor Defendant Traveon’s driving while

he was employed.

41.
Defendant Knight owed a statutory duty to keep its vehicle in good working order, pursuant

to O.C.G.A. § 40-8-50(a).

42.
Defendant Knight was negligent in failing to properly service the 2012 Freightliner that
Defendant Traveon was operating at the time of the collision.
43,
The negligence of Defendant Knight proximately caused Plaintiff's injuries.
44.
Defendant Knight is liable for the injuries sustained by Plaintiff.
COUNT IV- DIRECT ACTION
45,
Plaintiff hereby re-alleges and incorporates Paragraphs | through 44 of this Complaint, as

if fully restated hereinafter.

Page 9 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 10 of 76

46,

Defendant Transtar was the insurer of Defendant Knight at the time of the collision and
provided liability insurance that affords coverage on behalf of Defendants, TRAVEON DEONTE
TAYLOR, and KNIGHT TRANSPORTATION, INC.

47.

Defendant Transtar issued a liability policy to Defendant Knight, that being Policy Number

MC-227271. Said policy was in effect on November 19, 2019.
48.

Defendant Transtar is subject to a direct action as the insurer for Defendant Knight,

pursuant to O.C.G.A. §§ 40-1-112 and 40-2-140.
49,

Pursuant to the terms and conditions of its policy of insurance and applicable Georgia law,
Defendant Transtar is liable to Plaintiff and responsible for payment of damages incurred by and
occasioned upon the Plaintiff as a result of the negligent acts and omissions of Defendant Knight
and/or Defendant Traveon.

COUNT IV- PUNITIVE DAMAGES
50.

Plaintiff hereby re-allege and incorporates Paragraphs 1 through 49 of this Complaint, as

if fully restated hereinafter.
51.
The conduct of Defendant Knight warrants imposition of punitive damages, based on its

independent wrongdoing in hiring, retaining, supervision, and training Defendant Traveon.

Page 10 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 11 of 76

52.

The actions of Defendant Knight showed a willful misconduct, malice, fraud, wantonness,
oppression, or that entire want of care which would raise the presumption of conscious indifference
to consequences, pursuant to O.C.G.A. § 51-12-5.1.

53.

Plaintiff is entitled to recover punitive damages without limitation or cap, in an amount to

be determined by the enlightened conscience of an impartial jury at trial.
54.

Defendant Knight has acted in bad faith, been stubbornly litigious, and caused Plaintiff
unnecessary trouble and expense. Thus, Plaintiff are entitled to recover necessary expenses of
litigation, including an award of reasonable attorney’s fees, pursuant to O.C.G.A. § 13-6-11.

COUNT Ul - DAMAGES
55.

Plaintiff re-alleges and incorporates Paragraphs | through 54 of this Complaint, as if fully
restated hereinafter.

56.

As a direct and proximate result of injuries sustained, Plaintiff had to seek medical
treatment.

57.

As a direct and proximate result of seeking medical treatment, Plaintiff KASZIA HOOD
incurred medical expenses in the amount of $374,522.68 for the care of the injuries sustained in

the subject collision.

Page 11 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 12 of 76

58.

As a direct and proximate result of the persistent injuries sustained, Plaintiff KASZIA

HOOD may continue to incur medical expenses for an indefinite period of time.
59.

As a direct and proximate result of seeking medical treatment, Plaintiff KASZIA HOOD
lost wages in an amount to be determined through discovery and this Complaint be amended
accordingly.

60.

As a direct and proximate result of seeking medical treatment, Plaintiff KASZIA HOOD
incurred travel expenses, in the form of mileage reimbursement, in an amount to be determined by
the enlightened conscience of an impartial jury at trial.

61.

As a direct and proximate result of the injuries sustained, Plaintiff KASZIA HOOD has
endured pain and suffering in an amount to be determined by the enlightened conscience of an
impartial jury at trial.

62.

As a direct and proximate result of the pain and suffering, Plaintiff KASZIA HOOD may
have endured mental anguish and emotional distress, to be determined through discovery and this
Complaint be amended accordingly.

63.

As a direct and proximate result of the pain and suffering, Plaintiff KASZIA HOOD has

suffered loss of enjoyment of life, in an amount to be determined by the enlightened conscience of

an impartial jury at trial.

Page 12 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 13 of 76

64.

Both the collision and the injuries sustained by Plaintiff KASZIA HOOD were the direct

and proximate result of the negligent acts of Defendants.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays that this Court enter a judgment in favor of

Plaintiff and against Defendants as follows:

(a)

(b)

(c)

(d)

(e)

(f)

Copy from re:SearchGA

Plaintiff KASZIA HOOD be awarded special damages for past and present medical
expenses, in the amount of $374,522.68;

Plaintiff be awarded special damages for loss of wages, in an amount to be
determined through discovery;

Plaintiff be awarded general damages for future medical expenses, travel expenses,
physical and mental pain and suffering, and loss of enjoyment of life, to be

determined at trial;
Plaintiff be awarded punitive damages, to be determined at trial;

Plaintiff be awarded litigation expenses, including court costs and attorney’s fees;

and

Plaintiff be awarded such other and further relief as this Court deems just and

proper.

(Date and signature on next page.)

Page 13 of 14
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 14 of 76

This 30" day of September, 2021.

 

SAXTON FIRM, P.C. SAXTON FIRM, P.C.
1995 North Park Place, SE, Suite 207
Atlanta, GA 30339 Paneé —). Sagton
Telephone: (404) 420-5791]
Facsimile: (678) 213-1058 Daniel J. Saxton, Esq.
Email: djsaxton@saxtonfirm.com Georgia Bar No.: 628075
dgrant(@saxtonfirm.com Donte B. Grant, Esq.
Georgia Bar No.: 686242
Attorneys for Plaintiff
Page 14 of 14

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 15 of 76
E-FILED IN OFFICE - EP

CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA

21-C-07149-S4
IN THE STATE COURT OF GWINNETT COUNTY o/s0/n004 dona oak

TIANA P. GARNER, CLERK

 

 

 

 

 

 

STATE OF GEORGIA
KASZIA HOOD
CIVIL ACTION 21-C-07149-S4
NUMBER:
PLAINTIFF
VS.
KNIGHT TRANSPORTATION, INC.
289 S. Culver Street
Lawrenceville, Gwinnett County, Georgia 30046
DEFENDANT
SUMMONS

TO THE ABOVE NAMED DEFENDANT:

a a hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:

Daniel J. Saxton, Esq.

SAXTON FIRM, P.C.

1995 North Park Place, SE, Suite 207

Atlanta, GA 30339

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This _ 30TH day of | SEPTEMBER , 202"

Tiana P. Garner

 

Clerk of State Court
By
Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 16 of 76
E-FILED IN OFFICE - EP
CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
21-C-07149-S4

9/30/2021 12:48 PM
TIANA P. GARNER, CLERK

IN THE STATE COURT OF GWINNETT COUNTY

 

 

 

 

 

 

 

STATE OF GEORGIA
KASZIA HOOD
21-C-07149-S4
CIVIL ACTION
NUMBER:
PLAINTIFF
VS.
TRANSTAR INSURANCE BROKERS, INC.
2 Sun Court, Suite 400
Peachtree Corners, Gwinnett County, Georgia 30092
DEFENDANT
SUMMONS

TO THE ABOVE NAMED DEFENDANT:

vou are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:

Daniel J. Saxton, Esq.

SAXTON FIRM, P.C.

1995 North Park Place, SE, Suite 207

Atlanta, GA 30339

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

30TH SEPTEMBER 21
This day of > 20

Tiana P. Garner

 

Clerk of State Court
By Luh Wire *
Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on-this sheet if addendum sheet is used.

SC-1 Rev. 2011

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 17 of 76
E-FILED IN OFFICE - EP
CLERK OF STATE COURT

 

 

 

 

 

GWINNETT COUNTY, GEORGIA
21-C-07149-S4
IN THE STATE COURT OF GWINNETT COUNTY 9/30/2021 12:48 PM
TIANA P, GARNER, CLERK
STATE OF GEORGIA
KASZIA HOOD
- - CIVIL ACTION 21-C-07149-S4
NUMBER:
PLAINTIFF
VS.
TRAVEON DEONTE TAYLOR
3390 Saxton Drive
Saginaw, Saginaw County, Michigan 48603
DEFENDANT
SUMMONS

TO THE ABOVE NAMED DEFENDANT:

you ae hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:

Daniel J. Saxton, Esq.

SAXTON FIRM, P.C.

1995 North Park Place, SE, Suite 207

Atlanta, GA 30339

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

30TH SEPTEMBER 21
This day of » 20 .

Tiana P. Garner
Clerk of State Court

ah Dos

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 18 of 76
E-FILED IN OFFICE - EP

CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
21-C-07149-S4

9/30/2021 12:48 PM
TIANA P. GARNER, CLERK

IN THE STATE COURT OF GWINNETT COUNTY
STATE OF GEORGIA

KASZIA HOOD, CIVIL ACTION NO.:
Plaintiff, 21-C-07149-S4

v.

TRAVEON DEONTE TAYLOR,

KNIGHT TRANSPORTATION, INC.,
TRANSTAR INSURANCE BROKERS, INC., and

)
)
)
)
)
)
)
)
JOHN DOE CORPORATIONS 1-3 )
)
)

Defendants.

RULE 5.2 CERTIFICATE OF SERVING DISCOVERY MATERIAL
COMES NOW, Plaintiff and pursuant to the local rules of court hereby certifies that a
true and correct copy of the following documents has been delivered for service with the
summons upon Defendants via hand delivery:
1. PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO EACH DEFENDANT; and
2. PLAINTIFF’S FIRST CONTINUING INTERROGATORIES AND REQUEST FOR
PRODUCTION OF DOCUMENTS TO EACH DEFENDANT.

This 30" day of September, 2021.

 

SAXTON FIRM, P.C.

SAXTON FIRM, P.C.
1995 North Park Place, SE, Suite 207 Datel OQ). Saplon
Atlanta, GA 30339 J :
Telephone: (404) 420-5791 Daniel J. Saxton, Esq.
Facsimile: (678) 213-1058 Georgia Bar No.: 628075
Email: djsaxton(@)saxtonfirm.com Donte B. Grant, Esq.

derant(@saxtonfirm.com Georgia Bar No.: 686242

Attorneys for Plaintiff

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 19 of 76

CERTIFICATE OF SERVICE
THIS IS TO CERTIFY that I have this day served a copy of the within and foregoing
CERTIFICATE OF SERVING DISCOVERY MATERIAL was delivered for service attached to the
summons and complaint upon Defendants via hand delivery.

Traveon Deonte Taylor
3390 Saxton Drive
Saginaw, Saginaw County, Michigan 48603

Knight Transportation, Inc.
c/o C T Corporation
289 S. Culver Street
Lawrenceville, Gwinnett County, Georgia 30046

Transtar Insurance Brokers, Inc.
c/o Corporation Service Company
2 Sun Court, Suite 400
Peachtree Corners, Gwinnett County, Georgia 30092

This 30" day of September, 2021.

SAXTON FIRM, P.C.
SAXTON FIRM, P.C.

1995 North Park Place, SE, Suite 207 Danes! ). Salon

Atlanta, GA 30339

 

Telephone: (404) 420-5791 Daniel J. Saxton, Esq.

Facsimile: (678) 213-1058 Georgia Bar No.: 628075

Email: djsaxton@saxtonfirm.com Donte B. Grant, Esq.
dgrant(@)saxtonfirm.com Georgia Bar No.: 686242

Attorneys for Plaintiff

Page 2 of 2

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document i-1 Filed 11/01/21

Page 20 of 76
E-FILED IN OFFICE - JM
CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
21-C-07149-S4

10/6/2021 8:27 AM
TIANA P. GARNER, CLERK

AFFIDAVIT OF SERVICE

State of Georgia

Case Number: 21-C-07149-S4

Plaintiff:
KASZIA HOOD,
vs.

Defendant:

County of GWINNETT

State Court

TRAVEON DEONTE TAYLOR, KNIGHT TRANSPORTATION, INC., TRANSTAR
INSURANCE BROKERS; and JOHN DOE CORPORATIONS 1-3,

For:
DANIEL SAXTON
SAXTON FIRM, P.C.

Received by Discrete Professional Services L. L. C. on the 1st day of October, 2021 at 8:18 am to be served on
KNIGHT TRANSPORTATION, INC. c/o REGISTERED AGENT: CT CORPORATION SYSTEM, 289 S CULVER ST,

LAWRENCEVILLE, GA 30046.

1, MUHSIN S. HASSAN, being duly sworn, depose and say that on the 4th day of October, 2021 at 10:50 am, I:

served a REGISTERED AGENT by delivering a true copy of the SUMMONS and COMPLAINT FOR DAMAGES and
PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT KNIGHT TRANSPORTATION, INC. and
PLAINTIFF'S FIRST CONTINUING INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS
TO DEFENDANT KNIGHT TRANSPORTATION, INC and RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY
MATERIALS, CERTIFICATE OF SERVICE to: Jane Richardson for The REGISTERED AGENT, at the address of:
289 S CULVER ST, LAWRENCEVILLE, GA 30046 on behalf of KNIGHT TRANSPORTATION, INC., and informed
said person of the contents therein, in compliance with state statutes.

| am over the age of 18, of sound mind and neither a party to nor interested in the above suit. | have personal
knowledge of the facts stated above. | have never been convicted of a felony or misdemeanor involving moral

turpitude in any state or federal jurisdiction.

Subscribed and Sworn to before me on this
day of , 20 , by the

affiant who is personally known to me or has show

acceptable identification.

COwnssnng faisg

SUSTINE &
NOTARY PUBLIC Si

x
‘ss qott ete,
SKS

WH yy,

WA: 4. ft

/MUHSIN S. HASSAN

Discrete Professional Services L. L. C.
P.O. Box 451081
Atlanta, GA 31145
My, (470) 454-3107
Y,

BOWE “2Qur Job Serial Number: DIS-2021001015

f: HOOD v. TAYLOR, et.al.

Copyright © 1992-2021 Dalabase Services, Inc. - Process Server's Toolbox V8,2c

Copy from re:SearchGA
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 21 of 76
E-FILED IN OFFICE - JM
CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA

21-C-07149-S4

10/6/2021 8:27 AM
TIANA P. GARNER, CLERK

AFFIDAVIT OF SERVICE

State of Georgia County of GWINNETT State Court

Case Number: 21-C-07149-S4

Plaintiff:
KASZIA HOOD,
vs.

Defendant:

TRAVEON DEONTE TAYLOR, KNIGHT TRANSPORTATION, INC., TRANSTAR
INSURANCE BROKERS; and JOHN DOE CORPORATIONS 1.3,

For:
DANIEL SAXTON
SAXTON FIRM, P.C.

Received by Discrete Professional Services L. L. C. on the 1st day of October, 2021 at 8:18 am to be served on
TRANSTAR INSURANCE BROKERS, INC. clo REGISTERED AGENT: CORPORATION SERVICE COMPANY, 2

SUN COURT, SUITE 400, PEACHTREE CORNERS, GA 30092.
I, MUHSIN S. HASSAN, being duly sworn, depose and say that on the 4th day of October, 2021 at 11:38 am, I:

served a REGISTERED AGENT by delivering a true copy of the SUMMONS and COMPLAINT FOR DAMAGES and
PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT TRANSTAR INSURANCE BROKERS, INC.
and PLAINTIFF'S FIRST CONTINUING INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS TO DEFENDANT TRANSTAR INSURANCE BROKERS, INC. and RULE 5.2 CERTIFICATE OF
SERVICE OF DISCOVERY MATERIALS, CERTIFICATE OF SERVICE to: Alisha Smith for The REGISTERED
AGENT, at the address of: 2 SUN COURT, SUITE 400, PEACHTREE CORNERS, GA 30092 on behalf of
TRANSTAR INSURANCE BROKERS, INC., and informed said person of the contents therein, in compliance with
state statutes.

| am over the age of 18, of sound mind and neither a party to nor interested in the above suit. | have personal
knowledge of the facts stated above. | have never been convicted of a felony or misdemeanor involving moral

turpitude in any state or federal jurisdiction.
MA A. ler—

“MUHSIN S. HASSAN
Subscribed and Sworn to before me on this

day of O¢weBEr 20,2 _, by the Discrete Professional Services L. L. C.
affiant who is personally known to me or has show P.O. Box 4510814
acceptable identification. . ult! Wheg, ¥,,_ Atlanta, GA 31145

/ a ply
é 2 M Vy) £ dy! Os Lf Ss “SION
NOYARY PUBLIC 2, ses OM ei, x % Gur Job Serial Number: DIS-2021001016

EI TINE Leen (470) 454-3107
iS OTA, mt fet HOOD v. TAYLOR, et.al.

Copyright © 1992-2021 Database Services, Inc. - Process Server's Toolbox V8,2c

Copy from re:SearchGA
 

 

Copy from re:SearchGA
==

Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 22 of 76
E-FILED IN OFFICE - JM

CLERK OF STATE COURT
GWINNETT COUNTY, GEORGIA
21-C-07149-S4
10/22/2021 10:10 AM
TIANA P. GARNER, CLERK

IN THE STATE COURT OF GWINNETT COUNTY, STATE OF GEORGIA

KASZIA HOOD Case No.: 21-C-07149-S4
PlaintiffiPetitioner

vs.
TRAVEON DEONTE TAYLOR AFFIDAVIT OF SERVICE OF
Defendant/Respondent | Summons; Complaint for Damages

Received by Charles Levens, on the 14th day of October, 2021 at 11:21 AM to be served upon Traveon Deonte
Taylor at 3390 Saxton Dr, Apt. 1, Saginaw, Saginaw County, Ml 48603.

On the 14th day of October, 2021 at 2:05 PM, |, Charles Levens, SERVED Traveon Deonte Taylor at 713 N BOND
ST, SAGINAW, Saginaw County, MI 48602 in the manner indicated below:

INDIVIDUAL SERVICE, by personally delivering 1 copy(ies) of the above-isted documents to Traveon Deonte Taylor.
THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:

I delivered the documents to Traveon Deonte Taylor with identity confirmed by subject stating their name. The
individual accepted service with direct delivery. The individual appeared to be a black-haired black male contact
18-25 years of age, 5'6"-5'8" tall and weighing 140-160 ibs.

Service Fee Total: $0.00

Per U.S. Code § 1746, | declare under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct.

NAME: ail _ lol 20] 202 |

 

Charles “T b Server ID # Date }
Notary Public: Subscritled and swom before me on this_ 20 dayof_ Otte bey _ inthe year of 202 |
Personally known to me or /|__ identified by the following document:

NumberReference: L194  @60357/
Type: Dy, yevs € cease

by Thawed Notary Public for State of, Inte niga nh
) t Commission Expiration: Januery 2025
Notary Public (Legal Signature) ()

PAULA K. THAYER
NOTARY PUBLIC, STATE OF MI
COUNTY OF GENESEE Se
MY COMMISSION EXPIRES Jan 19, 2025 =
ACTING IN COUNTY oF(224ES2 ¢_ :

 

Page 1 of 1
eee REF: REF-8886606 Tracking #: 0077694273

AH

 
2 cee we ov

Case 1:21-cv-04517-CAP Document1-1 Filed 11/01/21 Page 23 of 76 cLERK OF STATE COUF
GWINNETT COUNTY, GEORG!

21-C-07149-S

11/1/2021 2:07 PI
TIANA P, GARNER, CLER

IN THE STATE COURT OF GWINNETT COUNTY
STATE OF GEORGIA

KASZIA HOOD,

CIVIL ACTION FILE
NO. 21-C-07149-S4

Plaintiff,
V.

TRAVEON DEONTE TAYLOR,
KNIGHT TRANSPORTATION, INC.,
TRANSTAR INSURANCE
BROKERS, INC., and JOHN DOE
CORPORATIONS 1-3,

Defendants.

ANSWER AND DEFENSES OF DEFENDANT KNIGHT
TRANSPORTATION, INC. TO PLAINTIFF'S COMPLAINT

COMES NOW defendant Knight Transportation, Inc. ("Knight") and answers
plaintiffs complaint as follows:
FIRST DEFENSE
Plaintiff's complaint fails to state a claim upon which relief can be granted.

SECOND DEFENSE

 

Responding to the specifically numbered paragraphs of plaintiff's complaint,

Knight answers as follows:
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 24 of 76

PARTIES, JURISDICTION, AND VENUE
1.

Knight is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
2.

Responding to the allegations in this paragraph of the complaint, Knight
admits Mr. Taylor was driving a tractor-trailer involved in the subject accident.
Except as expressly admitted, Knight is without knowledge or information sufficient
to form a belief as to the truth of the allegations in this paragraph of the complaint.

3.

Responding to the allegations in this paragraph of the complaint, Knight
admits it is a corporation, its principal place of business is located at the stated
address, and it may be served according to law. Except as expressly admitted,
Knight denies the allegations in this paragraph of the complaint.

4,
Knight is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 25 of 76

5.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
5. [sic]
Knight denies the allegations in this paragraph of the complaint.
6.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
7.
Knight denies the allegations in this paragraph of the complaint.
FACTS
8.
Knight incorporates its responses to the foregoing paragraphs of the complaint
as if fully set forth herein.
9.
Knight is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 26 of 76

10.
Knight admits the allegations in this paragraph of the complaint.
11.

Responding to the allegations in this paragraph of the complaint, Knight
admits plaintiff and Mr. Taylor were involved in a motor vehicle accident at or near
the stated location. Except as expressly admitted, Knight denies the allegations in
this paragraph of the complaint.

12.

Knight denies the allegations in this paragraph of the complaint.
13.

Knight denies the allegations in this paragraph of the complaint.
14.

Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.

15.
Knight is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 27 of 76

16.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
COUNT I —- NEGLIGENCE
17.
Knight incorporates its responses to the foregoing paragraphs of the complaint

as if fully set forth herein.
18.

Responding to the allegations in this paragraph of the complaint, Knight
admits Mr. Taylor had a duty to follow applicable law. Except as expressly admitted,
Knight denies the allegations in this paragraph of the complaint.

19.

Responding to the allegations in this paragraph of the complaint, Knight
admits Mr. Taylor had a duty to follow applicable law. Except as expressly admitted,
Knight denies the allegations in this paragraph of the complaint.

20.

Knight denies the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 28 of 76

21.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
COUNT If — NEGLIGENCE PER SE
22.
Knight incorporates its responses to the foregoing paragraphs of the complaint
as if fully set forth herein.
23.
Knight denies the allegations in this paragraph of the complaint, including
those set forth in subparagraphs (a) through (g).
24.
Knight denies the allegations in this paragraph of the complaint.

COUNT I —- IMPUTABLE NEGLIGENCE

 

25.
Knight incorporates its responses to the foregoing paragraphs of the complaint
as if fully set forth herein.
26.
Responding to the allegations in this paragraph of the complaint, Knight

admits Mr. Taylor was driving a tractor-trailer in the course and scope of his

-6-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 29 of 76

employment with Knight at the time of the subject accident. Except as expressly
admitted, Knight denies the allegations in this paragraph of the complaint.
27.

Responding to the allegations in this paragraph of the complaint, Knight
admits the respondeat superior doctrine applies to plaintiff's claims of negligence
against Mr. Taylor. Except as expressly admitted, Knight denies the allegations in
this paragraph of the complaint.

28.

Responding to the allegations in this paragraph of the complaint, Knight
admits it had a duty to follow applicable law. Except as expressly admitted, Knight
denies the allegations in this paragraph of the complaint.

29.
Knight denies the allegations in this paragraph of the complaint.
30.

Responding to the allegations in this paragraph of the complaint, Knight
admits it had a duty to follow applicable law. Except as expressly admitted, Knight
denies the allegations in this paragraph of the complaint.

31.

Knight denies the allegations in this paragraph of the complaint.

-7-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 30 of 76

32.

Responding to the allegations in this paragraph of the complaint, Knight
admits it had a duty to follow applicable law. Except as expressly admitted, Knight
denies the allegations in this paragraph of the complaint.

33.

Knight denies the allegations in this paragraph of the complaint.
34,

Knight denies the allegations in this paragraph of the complaint.
35.

Responding to the allegations in this paragraph of the complaint, Knight
admits it had a duty to follow applicable law. Except as expressly admitted, Knight
denies the allegations in this paragraph of the complaint.

36.

Knight denies the allegations in this paragraph of the complaint.
37.

Knight denies the allegations in this paragraph of the complaint.
38.

Knight denies the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 31 of 76

39.

Knight denies the allegations in this paragraph of the complaint.
40.

Knight denies the allegations in this paragraph of the complaint.
41.

Responding to the allegations in this paragraph of the complaint, Knight
admits it had a duty to follow applicable law. Except as expressly admitted, Knight
denies the allegations in this paragraph of the complaint.

42.

Knight denies the allegations in this paragraph of the complaint.
43.

Knight denies the allegations in this paragraph of the complaint.
44.

Knight denies the allegations in this paragraph of the complaint.

COUNT IV — DIRECT ACTION
45.

Knight incorporates its responses to the foregoing paragraphs of the complaint

as if fully set forth herein.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 32 of 76

46.

Knight denies the allegations in this paragraph of the complaint.
47.

Knight denies the allegations in this paragraph of the complaint.
48.

Knight denies the allegations in this paragraph of the complaint.
49.

Knight denies the allegations in this paragraph of the complaint.

COUNT If [sic] - PUNITIVE DAMAGES
50.

Knight incorporates its responses to the foregoing paragraphs of the complaint
as if fully set forth herein.
51.
Knight denies the allegations in this paragraph of the complaint.
52.
Knight denies the allegations in this paragraph of the complaint.
53.

Knight denies the allegations in this paragraph of the complaint.

-10-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 33 of 76

54.
Knight denies the allegations in this paragraph of the complaint.
COUNT III [sic] - DAMAGES
55.
Knight incorporates its responses to the foregoing paragraphs of the complaint
as if fully set forth herein.
56.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
57.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
58.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
59.
Knight is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.

-11-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 34 of 76

60.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
61.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
62.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
63.
Knight is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
64.
Knight denies the allegations in this paragraph of the complaint.
PRAYER FOR RELIEF
65.
Responding to the allegations in the unnumbered paragraph which begins

"WHEREFORE" and constitutes plaintiffs prayer for relief, including

-12-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 35 of 76

subparagraphs (a) through (f), Knight denies plaintiff is entitled to any relief from
defendants under any theory, at law or in equity.
66.
Except as expressly admitted or otherwise responded to, Knight denies all
allegations in the complaint.
THIRD DEFENSE
Defendants did not breach any duty owed to plaintiff.

FOURTH DEFENSE

 

No act or omission of defendants either proximately caused or contributed to
any injuries or damages allegedly incurred by plaintiff; therefore, plaintiff has no
right of recovery against defendants.

FIFTH DEFENSE

Any injuries or damages sustained by plaintiff were the sole, direct, and
proximate result of the conduct of others, including but not limited to plaintiff, and
no alleged act by defendants caused or contributed to the incident described in the

complaint.

-|3-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 36 of 76

SIXTH DEFENSE

The imposition of punitive damages against defendants would violate their
rights under the Due Process Clauses of the Fourteenth Amendment to the United
States Constitution and the Georgia Constitution.

SEVENTH DEFENSE

The statutes of the State of Georgia that authorize the imposition of punitive
damages are contrary, by their express terms and as applied to defendants in this
lawsuit, to the United States and Georgia Constitutions, and the imposition of
punitive damages against defendants in this lawsuit is therefore barred inasmuch as
the statutes allow for deprivations of property without due process of law, violate
the equal protection of the laws by providing fewer protections for civil litigants than
the criminal statutes that provide for the imposition of monetary fines, and impose
an excessive fine.

EIGHTH DEFENSE

To the extent as may be shown applicable by the evidence through discovery,
defendants assert the affirmative defenses of assumption of the risk,
contributory/comparative negligence, failure of plaintiff to avoid consequences,
failure of plaintiff to mitigate damages, accord and satisfaction, arbitration and

award, discharge in bankruptcy, duress, estoppel, failure of consideration, fraud,

-14-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 37 of 76

illegality, injury by fellow servant, laches, last clear chance, license, payment,
release, res judicata, statute of limitations, and waiver.
NINTH DEFENSE

Defendants reserve the right to plead additional defenses as become known to

them through investigation and discovery.

WHEREFORE, having fully listed its defenses and having fully answered the

complaint, Knight prays as follows:

(a) That judgment be entered in favor of defendants and against plaintiff

on the complaint;

(b) That the costs of this action, including attorney's fees be cast against
plaintiff; and

(c) That the Court grant such other and further relief as it may deem just

and proper.

STONE KALFUS LLP

/s/ Matthew P. Stone
Matthew P. Stone
Georgia Bar No. 684513
Shawn N. Kalfus
Georgia Bar No. 406227
Sheetal M. Brahmbhatt
Georgia Bar No. 142065
Attorneys for Defendants
Traveon Deonte Taylor;

-15-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 38 of 76

One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

Knight Transportation, Inc.; and
Transtar Insurance Brokers, Inc.

KNIGHT DEMANDS A TRIAL BY JURY OF TWELVE

-16-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 39 of 76

CERTIFICATE OF SERVICE
This is to certify that I have this date served the foregoing ANSWER AND
DEFENSES OF DEFENDANT KNIGHT TRANSPORATION, INC. TO
PLAINTIFF'S COMPLAINT upon all judges, clerks, and opposing counsel to the
Clerk of Court electronically using the Odyssey eFileGA filing system which will
automatically send e-mail notification of such filing to counsel of record and others
who are Odyssey eFileGA eFile participants. Counsel of record is as follows:
Daniel J. Saxton, Esq.
Donte B. Grant, Esq.
SAXTON FIRM, P.C.
1995 North Park Place, SE, Suite 207
Atlanta, GA 30339
This 1“ day of November, 2021.
/s/ Matthew P. Stone

Matthew P. Stone
Georgia Bar No. 684513

 

STONE KALFUS LLP
One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
awe ow

Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 40 of 76 cLERK OF STATE COUF
GWINNETT COUNTY, GEORG!

21-C-07149-S

11/1/2021 2:07 PI
TIANA P. GARNER, CLER

IN THE STATE COURT OF GWINNETT COUNTY
STATE OF GEORGIA

KASZIA HOOD,

CIVIL ACTION FILE
NO. 21-C-07149-S4

Plaintiff,
V.

TRAVEON DEONTE TAYLOR,
KNIGHT TRANSPORTATION, INC.,
TRANSTAR INSURANCE
BROKERS, INC., and JOHN DOE
CORPORATIONS 1-3,

Defendants.

ANSWER AND DEFENSES OF DEFENDANT TRANSTAR
INSURANCE BROKERS, INC.TO PLAINTIFF'S COMPLAINT

COMES NOW defendant Transtar Insurance Brokers, Inc. ("Transtar"), by
way of special appearance, without waiving and specifically reserving all defenses
related to service and jurisdiction, and answers plaintiff's complaint as follows:

FIRST DEFENSE
Plaintiff's complaint fails to state a claim upon which relief can be granted.
SECOND DEFENSE
Responding to the specifically numbered paragraphs of plaintiff's complaint,

Transtar answers as follows:
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 41 of 76

PARTIES, JURISDICTION, AND VENUE
I.

Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
2.

Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
3.

Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
4.

Responding to the allegations in this paragraph of the complaint, Transtar
admits it is a corporation, its principal place of business is located at the stated
address, and it may be served according to law. Except as expressly admitted,
Transtar denies the allegations in this paragraph of the complaint.

5.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 42 of 76

5. [sic]
Transtar denies the allegations in this paragraph of the complaint.
6.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
7.
Transtar denies the allegations in this paragraph of the complaint.
FACTS
8.
Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
9.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
10.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 43 of 76

11.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
12.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
13.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
14.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
15.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
16.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 44 of 76

COUNT I - NEGLIGENCE
17.
Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
18.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
19.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
20.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
21.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 45 of 76

COUNT II —- NEGLIGENCE PER SE
22.

Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.

23.

Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint, including those set
forth in subparagraphs (a) through (g).

24.

Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.

COUNT UI —- IMPUTABLE NEGLIGENCE
25.

Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
26.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 46 of 76

27. /
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
28.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
29.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
30.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
31.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
32.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 47 of 76

33.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
34.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
35.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
36.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
37.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
38.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 48 of 76

39.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
40.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
41.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
42.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
43.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
44.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 49 of 76

COUNT IV — DIRECT ACTION
45.

Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
46.
Transtar denies the allegations in this paragraph of the complaint.
47.
Transtar denies the allegations in this paragraph of the complaint.
48.
Transtar denies the allegations in this paragraph of the complaint.
49.
Transtar denies the allegations in this paragraph of the complaint.

COUNT If [sic] - PUNITIVE DAMAGES
50.

Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
51.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.

-10-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 50 of 76

52.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
53.
Transtar denies the allegations in this paragraph of the complaint.
54.
Transtar denies the allegations in this paragraph of the complaint.
COUNT III [sic] - DAMAGES
55.
Transtar incorporates its responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
56.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
57.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.

-11-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 51 of 76

58.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
59.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
60.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
61.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
62.
Transtar is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph of the complaint.
63.
Transtar is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph of the complaint.

-12-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 52 of 76

64.
Transtar denies the allegations in this paragraph of the complaint.
PRAYER FOR RELIEF
65.

Responding to the allegations in the unnumbered paragraph which begins
"WHEREFORE" and constitutes plaintiffs prayer for relief, including
subparagraphs (a) through (f), Transtar denies plaintiff is entitled to any relief from
defendants under any theory, at law or in equity.

66.
Except as expressly admitted or otherwise responded to, Transtar denies all
allegations in the complaint.
THIRD DEFENSE
This Court lacks personal jurisdiction over Transtar.
FOURTH DEFENSE

Transtar is an improper party to this action.

FIFTH DEFENSE

Defendants did not breach any duty owed to plaintiff.

-13-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 53 of 76

SIXTH DEFENSE
No act or omission of defendants either proximately caused or contributed to
any injuries or damages allegedly incurred by plaintiff; therefore, plaintiff has no

right of recovery against defendants.

SEVENTH DEFENSE

 

Any injuries or damages sustained by plaintiff were the sole, direct, and
proximate result of the conduct of others, including but not limited to plaintiff, and
no alleged act by defendants caused or contributed to the incident described in the
complaint.

EIGHTH DEFENSE

The imposition of punitive damages against defendants would violate their
rights under the Due Process Clauses of the Fourteenth Amendment to the United
States Constitution and the Georgia Constitution.

NINTH DEFENSE

The statutes of the State of Georgia that authorize the imposition of punitive
damages are contrary, by their express terms and as applied to defendants in this
lawsuit, to the United States and Georgia Constitutions, and the imposition of
punitive damages against defendants in this lawsuit is therefore barred inasmuch as

the statutes allow for deprivations of property without due process of law, violate

-14-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 54 of 76

the equal protection of the laws by providing fewer protections for civil litigants than
the criminal statutes that provide for the imposition of monetary fines, and impose
an excessive fine.
TENTH DEFENSE

To the extent as may be shown applicable by the evidence through discovery,
defendants assert the affirmative defenses of assumption of the risk,
contributory/comparative negligence, failure of plaintiff to avoid consequences,
failure of plaintiff to mitigate damages, accord and satisfaction, arbitration and
award, discharge in bankruptcy, duress, estoppel, failure of consideration, fraud,
illegality, injury by fellow servant, laches, last clear chance, license, payment,
release, res judicata, statute of limitations, and waiver.

ELEVENTH DEFENSE

Defendants reserve the right to plead additional defenses as become known to
them through investigation and discovery.

WHEREFORE, having fully listed its defenses and having fully answered the
complaint, Transtar prays as follows:

(a) That judgment be entered in favor of defendants and against plaintiff

on the complaint;

-15-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 55 of 76

(b) That the costs of this action, including attorney's fees be cast against

plaintiff; and

(c) That the Court grant such other and further relief as it may deem just

and proper.

One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

STONE KALFUS LLP

/s/ Matthew P. Stone

Matthew P. Stone

Georgia Bar No. 684513

Shawn N. Kalfus

Georgia Bar No. 406227
Sheetal M. Brahmbhatt

Georgia Bar No. 142065
Attorneys for Defendants
Traveon Deonte Taylor;

Knight Transportation, Inc.; and
Transtar Insurance Brokers, Inc.

TRANSTAR DEMANDS A TRIAL BY JURY OF TWELVE

-16-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 56 of 76

CERTIFICATE OF SERVICE
This is to certify that I have this date served the foregoing ANSWER AND
DEFENSES OF DEFENDANT TRANSTAR INSURANCE BROKERS, INC. TO
PLAINTIFF'S COMPLAINT upon all judges, clerks, and opposing counsel to the
Clerk of Court electronically using the Odyssey eFileGA filing system which will
automatically send e-mail notification of such filing to counsel of record and others
who are Odyssey eFileGA eFile participants. Counsel of record is as follows:
Daniel J. Saxton, Esq.
Donte B. Grant, Esq.
SAXTON FIRM, P.C.
1995 North Park Place, SE, Suite 207
Atlanta, GA 30339
This 1* day of November, 2021.
/s/ Matthew P. Stone

Matthew P. Stone
Georgia Bar No. 684513

 

STONE KALFUS LLP
One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
Dow ow

Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 57 of 76 cLERK OF STATE COUR
GWINNETT COUNTY, GEORG’

21-C-07149-S

11/1/2021 2:07 PI
TIANA P. GARNER, CLER

IN THE STATE COURT OF GWINNETT COUNTY
STATE OF GEORGIA

KASZIA HOOD,

CIVIL ACTION FILE
NO. 21-C-07149-S4

Plaintiff,
Vv.

TRAVEON DEONTE TAYLOR,
KNIGHT TRANSPORTATION, INC.,
TRANSTAR INSURANCE
BROKERS, INC., and JOHN DOE
CORPORATIONS 1-3,

Defendants.

ANSWER AND DEFENSES OF DEFENDANT
TRAVEON DEONTE TAYLOR TO PLAINTIFF'S COMPLAINT

COMES NOW defendant Traveon Deonte Taylor, by way of special
appearance, without waiving and specifically reserving all defenses related to
service and jurisdiction, and answers plaintiff's complaint as follows:

FIRST DEFENSE
Plaintiff's complaint fails to state a claim upon which relief can be granted.
SECOND DEFENSE
Responding to the specifically numbered paragraphs of plaintiff's complaint,

Mr. Taylor answers as follows:
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 58 of 76

PARTIES, JURISDICTION, AND VENUE
1.

Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
2.

Responding to the allegations in this paragraph of the complaint, Mr. Taylor
admits he was driving a tractor-trailer involved in the subject accident, is a resident
of Michigan, and can be served according to law. Except as expressly admitted, Mr.
Taylor denies the allegations in this paragraph of the complaint.

3.

Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
4,

Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations 1n this paragraph of the complaint.
5.
Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 59 of 76

5. [sic]
Mr. Taylor denies the allegations in this paragraph of the complaint.
6.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
7.
Mr. Taylor denies the allegations in this paragraph of the complaint.
FACTS
8.
Mr. Taylor incorporates his responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
9.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
10.
Mr. Taylor admits the allegations in this paragraph of the complaint.
11.
Responding to the allegations in this paragraph of the complaint, Mr. Taylor

admits he and plaintiff were involved in a motor vehicle accident at or near the stated

-3-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 60 of 76

location. Except as expressly admitted, Mr. Taylor denies the allegations in this
paragraph of the complaint.
12.
Mr. Taylor denies the allegations in this paragraph of the complaint.
13.
Mr. Taylor denies the allegations in this paragraph of the complaint.
14.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
15.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
16.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.

COUNT I —- NEGLIGENCE

 

17.
Mr. Taylor incorporates his responses to the foregoing paragraphs of the

complaint as if fully set forth herein.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 61 of 76

18.

Responding to the allegations in this paragraph of the complaint, Mr. Taylor
admits he had a duty to follow applicable law. Except as expressly admitted, Mr.
Taylor denies the allegations in this paragraph of the complaint.

19,

Responding to the allegations in this paragraph of the complaint, Mr. Taylor
admits he had a duty to follow applicable law. Except as expressly admitted, Mr.
Taylor denies the allegations in this paragraph of the complaint.

20.
Mr. Taylor denies the allegations in this paragraph of the complaint.
21.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
COUNT IT — NEGLIGENCE PER SE
22.
Mr. Taylor incorporates his responses to the foregoing paragraphs of the

complaint as if fully set forth herein.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 62 of 76

23.
Mr. Taylor denies the allegations in this paragraph of the complaint, including
those set forth in subparagraphs (a) through (g).
24.
Mr. Taylor denies the allegations in this paragraph of the complaint.

COUNT II —- bMWPUTABLE NEGLIGENCE
25.

Mr. Taylor incorporates his responses to the foregoing paragraphs of the
complaint as if fully set forth herein.

26.

Responding to the allegations in this paragraph of the complaint, Mr. Taylor
admits he was driving a tractor-trailer in the course and scope of his employment
with Knight Transportation, Inc. at the time of the subject accident. Except as
expressly admitted, Mr. Taylor denies the allegations in this paragraph of the
complaint.

27.
Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 63 of 76

28.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
29.
Mr. Taylor denies the allegations in this paragraph of the complaint.
30.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
31.
Mr. Taylor denies the allegations in this paragraph of the complaint.
32.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
33.
Mr. Taylor denies the allegations in this paragraph of the complaint.
34.

Mr. Taylor denies the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 64 of 76

35.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
36.
Mr. Taylor denies the allegations in this paragraph of the complaint.
37.
Mr. Taylor denies the allegations in this paragraph of the complaint.
38.
Mr. Taylor denies the allegations in this paragraph of the complaint.
39.
Mr. Taylor denies the allegations in this paragraph of the complaint.
40.
Mr. Taylor denies the allegations in this paragraph of the complaint.
41.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
42.

Mr. Taylor denies the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 65 of 76

43,

Mr. Taylor denies the allegations in this paragraph of the complaint.
44.

Mr. Taylor denies the allegations in this paragraph of the complaint.

COUNT IV — DIRECT ACTION
45.

Mr. Taylor incorporates his responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
46.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
47.
Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
48.
Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 66 of 76

49.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.

COUNT I [sic] - PUNITIVE DAMAGES
50.

Mr. Taylor incorporates his responses to the foregoing paragraphs of the
complaint as if fully set forth herein.
51.
Mr. Taylor denies the allegations in this paragraph of the complaint.
52.
Mr. Taylor denies the allegations in this paragraph of the complaint.
53.
Mr. Taylor denies the allegations in this paragraph of the complaint.
54.
Mr. Taylor denies the allegations in this paragraph of the complaint.

COUNT Uf [sic] - DAMAGES

 

55,
Mr. Taylor incorporates his responses to the foregoing paragraphs of the

complaint as if fully set forth herein.

-10-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 67 of 76

56.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
57.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
58.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
59.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
60.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
61.
Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.

-l1-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 68 of 76

62.

Mr. Taylor is without knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph of the complaint.
63.
Mr. Taylor is without knowledge or information sufficient to form a belief as
to the truth of the allegations in this paragraph of the complaint.
64.
Mr. Taylor denies the allegations in this paragraph of the complaint.
PRAYER FOR RELIEF
65.

Responding to the allegations in the unnumbered paragraph which begins
"WHEREFORE" and constitutes plaintiffs prayer for relief, including
subparagraphs (a) through (f), Mr. Taylor denies plaintiff is entitled to any relief
from defendants under any theory, at law or in equity.

66.

Except as expressly admitted or otherwise responded to, Mr. Taylor denies all
allegations in the complaint.

THIRD DEFENSE

This Court lacks personal jurisdiction over Mr. Taylor.

-12-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 69 of 76

FOURTH DEFENSE

 

There has been an insufficiency of process as to Mr. Taylor; therefore, this
Court lacks personal jurisdiction over him.
FIFTH DEFENSE
There has been an insufficiency of service of process as to Mr. Taylor;
therefore, this Court lacks personal jurisdiction over him.
SIXTH DEFENSE
Defendants did not breach any duty owed to plaintiff.
SEVENTH DEFENSE
No act or omission of defendants either proximately caused or contributed to
any injuries or damages allegedly incurred by plaintiff; therefore, plaintiff has no
right of recovery against defendants.
EIGHTH DEFENSE
Any injuries or damages sustained by plaintiff were the sole, direct, and
proximate result of the conduct of others, including but not limited to plaintiff, and

no alleged act by defendants caused or contributed to the incident described in the

complaint.

-13-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 70 of 76

NINTH DEFENSE
The imposition of punitive damages against defendants would violate their
rights under the Due Process Clauses of the Fourteenth Amendment to the United
States Constitution and the Georgia Constitution.
TENTH DEFENSE
The statutes of the State of Georgia that authorize the imposition of punitive
damages are contrary, by their express terms and as applied to defendants in this
lawsuit, to the United States and Georgia Constitutions, and the imposition of
punitive damages against defendants in this lawsuit is therefore barred inasmuch as
the statutes allow for deprivations of property without due process of law, violate
the equal protection of the laws by providing fewer protections for civil litigants than
the criminal statutes that provide for the imposition of monetary fines, and impose

an excessive fine.

ELEVENTH DEFENSE

 

To the extent as may be shown applicable by the evidence through discovery,
defendants assert the affirmative defenses of assumption of the risk,
contributory/comparative negligence, failure of plaintiff to avoid consequences,
failure of plaintiff to mitigate damages, accord and satisfaction, arbitration and

award, discharge in bankruptcy, duress, estoppel, failure of consideration, fraud,

-14-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 71 of 76

illegality, injury by fellow servant, laches, last clear chance, license, payment,
release, res judicata, statute of limitations, and waiver.

TWELFTH DEFENSE

 

Defendants reserve the right to plead additional defenses as become known to
them through investigation and discovery.
WHEREFORE, having fully listed his defenses and having fully answered the

complaint, Mr. Taylor prays as follows:

(a) That judgment be entered in favor of defendants and against plaintiff

on the complaint;

(b) That the costs of this action, including attorney's fees be cast against
plaintiff; and

(c) That the Court grant such other and further relief as it may deem just

and proper.

STONE KALFUS LLP

/s/ Matthew P. Stone
Matthew P. Stone
Georgia Bar No. 684513
Shawn N. Kalfus
Georgia Bar No. 406227
Sheetal M. Brahmbhatt
Georgia Bar No. 142065
Attorneys for Defendants
Traveon Deonte Taylor;

-15-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 72 of 76

One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

Knight Transportation, Inc.; and
Transtar Insurance Brokers, Inc.

MR. TAYLOR DEMANDS A TRIAL BY JURY OF TWELVE

-16-
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 73 of 76

CERTIFICATE OF SERVICE
This is to certify that I have this date served the foregoing ANSWER AND
DEFENSES OF DEFENDANT TRAVEON DEONTE TAYLOR TO PLAINTIFF'S
COMPLAINT upon all judges, clerks, and opposing counsel to the Clerk of Court
electronically using the Odyssey eFileGA filing system which will automatically
send e-mail notification of such filing to counsel of record and others who are
Odyssey eFileGA eFile participants. Counsel of record is as follows:
Daniel J. Saxton, Esq.
Donte B. Grant, Esq.
SAXTON FIRM, P.C.
1995 North Park Place, SE, Suite 207
Atlanta, GA 30339
This 1" day of November, 2021.
/s/ Matthew P. Stone

Matthew P. Stone
Georgia Bar No. 684513

 

STONE KALFUS LLP
One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
poe

Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 74 of 76 cLERK OF STATE COUR
GWINNETT COUNTY, GEORG!

21-C-07149-S

11/1/2021 2:07 PI
TIANA P. GARNER, CLER

IN THE STATE COURT OF GWINNETT COUNTY

STATE OF GEORGIA
KASZIA HOOD, )
)
Plaintiff, ) CIVIL ACTION FILE
) NO. 21-C-07149-S4
Vv. )
)
TRAVEON DEONTE TAYLOR, )
KNIGHT TRANSPORTATION, INC., )
TRANSTAR INSURANCE )
BROKERS, INC., and JOHN DOE )
CORPORATIONS 1-3, )
)
Defendants. )

DEMAND FOR JURY OF TWELVE
COMES NOW defendants Traveon Deonte Taylor; Knight Transportation,

Inc.; and Transtar Insurance Brokers, Inc. (collectively, "these defendants") and,
pursuant to O.C.G.A. §§ 15-12-122 and 15-12-123, demand that this action be tried
by a jury of twelve. In support of this demand, these defendants reasonably believe
plaintiffs claim for damages is greater than $25,000 and state this demand is made
before the commencement of the trial term in which this case is to be tried.

STONE KALFUS LLP

/s/ Matthew P. Stone

Matthew P. Stone

Georgia Bar No. 684513

Shawn N. Kalfus
Georgia Bar No. 406227
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 75 of 76

Sheetal M. Brahmbhatt

Georgia Bar No. 142065
Attorneys for Defendants
Traveon Deonte Taylor;

Knight Transportation, Inc.; and
Transtar Insurance Brokers, Inc.

One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
Case 1:21-cv-04517-CAP Document 1-1 Filed 11/01/21 Page 76 of 76

CERTIFICATE OF SERVICE
This is to certify that I have this date served the foregoing Demand for Jury
of Twelve upon all judges, clerks, and opposing counsel to the Clerk of Court
electronically using the Odyssey eFileGA filing system which will automatically
send e-mail notification of such filing to counsel of record and others who are

Odyssey eFileGA eFile participants. Counsel of record is as follows:

Daniel J. Saxton, Esq.

Donte B. Grant, Esq.

SAXTON FIRM, P.C.

1995 North Park Place, SE, Suite 207
Atlanta, GA 30339

This 1“ day of November, 2021.

/s/ Matthew P. Stone
Matthew P. Stone
Georgia Bar No. 684513

STONE KALFUS LLP
One Midtown Plaza

1360 Peachtree Street NE
Suite 1250

Atlanta, GA 30309

(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
